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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )       8:08CR284
       vs.                                            )
                                                      )       PRELIMINARY ORDER
WILLIAM ARENDT,                                       )       OF FORFEITURE
ROBERT CROUSE,                                        )
DOUGLAS JENNINGS,                                     )
                                                      )
                       Defendants.                    )

       NOW ON THIS 30th day of December, 2008, this matter comes on before the Court upon the

United States' Motion for Issuance of Preliminary Order of Forfeiture. The Court reviews the record

in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered pleas of guilty to Counts I and VI of said Indictment. Count

I of said Indictment charges the Defendants with conspiracy to distribute marijuana, a violation of

21 U.S.C. § 846. Count VI of said Indictment charges the Defendants with using $2,000.00 in

United States currency, $10,000.00 in United States currency and $21,286.00 in United States

currency to facilitate the commission of the conspiracy and charges said personal properties are

derived from proceeds obtained directly or indirectly as a result of the commission of the conspiracy.

       2. By virtue of said plea of guilty, the Defendants forfeit their interest in the subject

properties, and the United States should be entitled to possession of said properties, pursuant to

21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:
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        A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

        B. Based upon Count VI of the Indictment and the Defendants’ pleas of guilty, the United

States is hereby authorized to seize the $2,000.00 in United States currency, $10,000.00 in United

States currency and $21,286.00 in United States currency.

        C. The Defendants’ interests in said properties are hereby forfeited to the United States for

disposition in accordance with the law, subject to the provisions of 21 U.S.C., § 853(n)(1).

        D. The aforementioned forfeited properties are to be held by the United States in its secure

custody and control.

        E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official Government internet site (www.forfeiture.gov) notice of this

Order, Notice of Publication evidencing the United States’ intent to dispose of the properties in such

manner as the Attorney General may direct, and notice that any person, other than the Defendant,

having or claiming a legal interest in any of the subject forfeited properties must file a Petition with

the court within thirty days of the final publication of notice or of receipt of actual notice, whichever

is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the properties, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject properties and any additional facts supporting the

Petitioner's claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the properties subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 30th day of December, 2008.


                                                        BY THE COURT:


                                                        s/ Joseph F. Bataillon
                                                        JOSEPH F. BATAILLON, CHIEF JUDGE
                                                        United States District Court




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